Case 1:16-cv-06540-OTW Document 34 Filed 11/02/20 Page 1of1
Case 1:16-cv-06540-OTW Document 32 Filed 07/26/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

Civil Action No.: 1:16-cv-6540-AJP
LATANGA CROKER,
Plaintiff,
v. ORDER
ANDREW SAUL,
COMMISSIONER OF
SOCIAL SECURITY,

Defendant.

 

NOW this gt sy of N Wen , 20 oO , it is hereby ORDERED that

 

plaintiff's Petition for and Award of Attorney Fees pursuant to 206 (b)(1) is GRANTED.

1) The Court authorizes a payment to Karl E. Osterhout, Esquire, in the amount of
Twenty Thousand Twenty Seven dollars and 38/100 ($20,027.38) in attorney’s fees being
withheld from Plaintiff's past-due benefits for court related services; and

2) Upon receipt of this sum, counsel for Plaintiff shall remit Nine Thousand Six
Hundred Fifty dollars and 00/100 ($9,650.00) directly to Plaintiff, representing the sum
already paid to counsel on Plaintiffs behalf pursuant to the Equal Access to Justice Act, 28

ULS.C, §2412. ~
ee

Aw

 

J. AN Lien

—
¥ hos COA CAL ms Olly reeuntley

p

wot bo sy.
/ OTN,

   

-|-

 

 
